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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

PULSEDATA, INC., )
)
Plaintiff, )
) Case No. 1:23 cv 3653 - JMF
-against- )
) AFFIDAVIT OF
JUNG HOON SON, )
) THOMAS G. PASTERNAK
Defendant. )
STATE OF ILLINOIS )
) ss
COUNTY OF COOK )

I, Thomas G. Pasternak, swear the following is true:

1. I am an adult resident of Illinois.

2. I make this Affidavit upon personal knowledge.

3. I have never been convicted of a felony.

4, I have never been censured, suspended, disbarred or denied admission or
readmission by any court.

5. There are no disciplinary proceedings against me.

OG het Mlk

Thomas G. Pasternak

Subscribed and sworn to before me this
5" day of July, 2023.

Notary Public, State of Illinois

 

      
   

OFFICIAL SEAL
ELIDA ASA
| Notary Public - State of Illinois
My Commission Expires 07/31/2026

 

My Commission expires 7/31/26

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